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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR19-0072-JCC
10                              Plaintiff,                    ORDER
11          v.

12   JEAN MPOULI,

13                              Defendants.
14

15          The Court ORDERS that the jury be committed to the custody of a duly sworn bailiff and
16   that the Clerk pay for the meals of the jurors at the expense of the United States Courts.
17

18          DATED this 22nd day of September 2021.




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                                                           John C. Coughenour
22                                                         UNITED STATES DISTRICT JUDGE
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     ORDER
     CR19-0072-JCC
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